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2MP CHAPTER 13 PLAN (Individual Ad|'ustment of Debts[

[1 Amended Plan (Indicate lst, 2”d, etc. amended, if applicable)

 

l 2nd Modit`ied Plan (Indicate lst, 2“d, etc. amended, if applicable)
DEBTOR: Catherine E. Grieser JOINT DEBTOR: CASE NO.: 15-16810-PGH

 

 

Last Four Digits of SS# 1994 Last F our Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion
date, Debtor(s) to pay to the trustee for the period of 60 months. In the event the trustee does not collect the
full 10%, any portion not collected Will be paid to creditors pro-rata under the plan:

A. $1253.13 formonths 1 to 19;

B. $ 4955.08 for months 20 to 31 ;
C. $ 4843.92 for months 32 to 60 ; in order to pay the following creditors:

 

 

Administrative: Attomey's Fee - $ 5,650.00 ($3500 atty fee; $150 costs;$750 strin;$750 strip; $500 modify) TOTAL
PAID $ 2 690.00
Balance Due: $ 2 960.00 payable $ 91.96 /month (Months_l toQ); and $ 101 .06 /month (Months 2_0 to § )

 

 

 

Secured Creditors: [Retain Liens pursuant to 11 U.S.C. § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal
Property:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. Green Tree Servicing Arrearage on Petition Date $ PAID OUTSIDE PLAN

Address: 332 Minnesota St. Ste. 610 Arrears Payment $ /month (Months to )
St. Paull MN 55101 Regular Payment $ /month (Months to )

Acct. Ending: 7287 Property is 700 Lake Street, C-3, Boynton Beach, FL

2. chen Loan Servicing Arrearage on Petition Date $ PAID OUTSIDE PLAN

Address: 12650 ngenuig Dr. Arrears Payment $ /month (Months to )
Orland o, FL 32826 Regular Payment $ /month (Months to )

Acct. Ending: 0500 Property is 700 Lake Street, B-l, Boynton Beach, FL

3. chen Loan Servicing Arrearage on Petition Date $ PAID OUTSIDE PLAN

Address: 12650 Ingenuig Dr. Arrears Payment $ /month (Months to )
Orlando, FL 32826 Regular Payment $ /month (Months to )

Acct. Ending: 4560 Property is 700 Lake Street, C-3, Boynton Beach, FL

4. _Via Lago Condominium Association, Inc. Arrearage on Petition Date$ SEE TREATMENT BELOW

Address: c/o Davenport Prof Prop Mgmt Regular Payment $ 5 50.00 /month (Months 1 to 19 )
6620 Lake Worth Rd. Ste. F Regular Payment $ 550.00 /month (Months 20 to _60)*
Lake Worth, FL 33467 *May be modified by future assessment changes

Acct. Ending: B-l Property is 700 Lake Street, B-l, Boynton Beach, FL

5. _Via Lago Condominium Association, Inc. Arrearage on Petition Date$ SEE TREATMENT BELOW

Address: c/o Davenport Prof Prop Mgmt Regular Payment $ 550.00 /month (Months l to 19 )
6620 Lake Worth Rd., Ste. F Regular Payment $ 550.00 /month (Months 20 to 60 )*
Lake Wolth, FL 33467 *May be modified by future assessment changes

Acct. Ending: C-3 Property is 700 Lake Street, C-3, Boynton Beach, FL

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IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT

 

 

 

 

 

TO BR 7004 and LR 3015-3.

 

 

Lake Worth, FL

 

Lago, as recorded in

3578, Page 92 an das
show on the Plat of Via
Lago, Plat No. l, as
recorded in Plat Book

plus interest on its
secured claim.

 

 

 

 

 

Secured Creditor Description of Interest Plan Payments Months of Payment Total Plan Payments
Collateral and Value Rate
of Collateral
Via Lago $275,000.00 5.25 % $1601.78 A To 60 $65,672_98
Condominium Property located at 700 **NOTE:
Association, Inc. Lake Street, B ' l’ Debtor Wi]l make
c/o Daven ort Prof B°ym°" Be.ac.h’ FL
p Legal description: a regular payments Of

PFOP Mgmt portion of Tract H, of the $5 5 0.00 per month
6620 Lake Worth Rd. Declaration of to Via Lago
Suite F Condomonium of Via Condominium

Association, Inc. for

33461 Ofi‘icial Records Book _
3417, Page 1015 and payments comlng
Acth B'l Official Record Book due after the date

the petition was
tiled. By agreement,
the secured claim of

39, Page 135 and 136, Via LagO Shall be
all in the Public Records $60,000.00 on this
Of Palm Beach County, unit which shall be
Florida. This creditor - d t 5 ZS¢V

shall be paid $60,000.00 pal a ' °

interest
commencing in
Month 21 of the
plan. The balance of
Via Lago’s claim on
this unit shall be a
general unsecured
claim.

 

 

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Via Lag<> ;§§%02@§9‘16 lo-l\/lA S-Dd@ §9601-¥&`|€0| 12 131_&6T<> PM€_?> Of 65,672.98

Condominium roperty Ocat€ at 700
Association, Inc. Lake Street’ C'3’ **NOTE'

Boynton Beach, FL '.
c/O Davenport Prof Legal description: Unit Debtor Wlll make
Prop Mgmt C-3 Via Lago, according regular payments of
6620 Lake Worth Rd. to the Plat thereof . $550,00 per month
Suite F recorded in Plat Book -

. to Via La 0
Lake Worth’ FL 39, at Page 135,Pub11c Condomi§’ium
3 4 61 Records of Palm Beach . .

3 County’ Florida_ This Association, Inc. for
Acth C'3 creditor shall be paid payments COming

$60,000.00 plus interest due after the date

on its secured claim. the petition Was

filed. By agreement,
the secured claim of
Via Lago shall be
$60,000.00 on this
unit which shall be
paid at 5.25%
interest
commencing in
Month 21 of the
plan. The balance of
Via Lago’s claim on
this unit shall be a
general unsecured

 

 

 

 

 

 

 

 

 

claim.
Priorig; Creditors: [as defined in ll U.S.C. §507]
l. Total Due $
Payable $ /month (Months to __) Regular
Payment $

Unsecured Creditors: Pay $ 20.88 /month (Monthsl toQ); and $lO0.00/month (Months § to @).

 

 

 

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
Other Provisions Not Included Above:

ln the event Debtor recovers any proceeds from a potential lawsuit, any funds received by Debtor shall be paid to
the Chapter 13 Trustee to be distributed as additional payment to unsecured creditors, over and above what is
currently being paid through the plan, and which may pay up to 100% of allowed, unsecured claims in this cause.

For purposes of the Plan, the Debtor and Via Lago Condominium Association, Inc. agree as follows:

Via Lago Condominium Association, Inc. shall have a secured arrears claim against 700 Lake Street, Unit B - l,
Boynton Beach, FL for the sum of $60,000.00; and a secured arrears claim against 700 Lake Street, Unit C-3,
Boynton Beach, FL for the sum of $60,000.00 (Both units collectively referred to hereafter as the “Property”). The
referenced arrearage shall be paid at an interest rate of 5.25% over the remaining term of the plan commencing in
Month 20 of the plan. Upon completion of the plan payments and issuance of discharge, Via Lago Condominium
Association, Inc. shall satisfy and release any of its pre-petition lien(s), judgments, or claims existing against the
“Property”. Payment of the agreed arrearage by the Debtor shall constitute full and final payment of any and all
claims for arrearages, assessments, attorneys fees, liens, j udgments, costs or other claims which Via Lago
Condominium Association, Inc. has against the Debtor Which existed pre-petition and through and including the
date this modified plan is confirmed.

At its own expense, Via Lago Condominium Association, Inc. shall, within 30 days of confirmation of this
modified plan, arrange for professional inspection of the roof(s) and other common areas of the “Property” to
determine what, if any, repairs are necessary to stop and abate water intrusion into the “Property”. The roofing

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contractor to be utilized for tgi;é)§£%oiigmllfpfot%g£§@l upc-Bd)y[é:&igy§@ fqna@@ Dehtqr and for Via Lago
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Condominium Associa @fi?[ c., espectively. A eterrnination of any necessary repairs required, Via Lago
Condominium Association, Inc. , at its own expense, shall arrange to have the necessary repairs completed
forthwith, time being of the essence. Via Lago Condominium, Inc. shall have no responsibility for repairs and/or
remediation necessary to the interior portions of the “Property” due to damage which currently exists. Debtor
Waives and releases any and all claims she may have against Via Lago Condominium Association, Inc., its officers,
board members, employees or agents for any damages done to the interior of 700 Lake Street, C-3 , Boynton Beach,
Florida and/or 700 Lake Street, B-l, Boynton Beach, Florida prior to the confirmation of this plan. This waiver
and release applies solely to damage done to the interior of the “Property” prior to the confirmation of this plan.
No other rights, remedies, or causes of action by the Debtor against Via Lago Condominium Association, Inc., its
officers, board members, employees or agents are covered by the wai ver and release referred to above, and same
are specifically retained by the Debtor. Simultaneous with, or immediately prior to the roof and common areas
inspection described above, the parties shall have an inspection of the interior of the “Property” performed by a
professional agreed to by the parties to determine all currently existing damage to the “Property”, if any.

Tom Waldron, Sr. shall make a payment in the amount of $1,500.00 to Via Lago Condominium Association, Inc.
on or before confirmation of this modified plan. These funds shall be applied to the account of the Debtor, and may
result in the Debtor having a credit balance with the Via Lago Condominium Association, Inc. at the conclusion
of this plan.

The Debtor and Via Lago Condominium Association, Inc. have discussed issues relating to the seawall abutting
the “Property”, and no agreement has been reached to resolve any issues or repairs required, and both parties retain
all rights, defenses and claims regarding the seawall issues, and/or damages or responsibilities related to same.

Debtor and Via Lago Condominium Association, Inc. understand and agree that future assessments on the units
may change. In the event a change occurs, Via Lago Condominium Association, Inc. shall file a Notice of Payment
Change in this case and the Debtor shall either modify the plan to account for the increase, pay the difference
directly to Via Lago Condominium Association, Inc., or object to the increase, as is appropriate

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

/s/ Catherine Grieser
Debtor Joint Debtor
Date: 12/13/16 Date:

 

 

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